                   Case:09/11)1:14-cr-00105-TSB
                               Judgment ina Criminal Case Doc #: 47 Filed: 06/08/15 Page: 1 of 6 PAGEID #: 125
   AO 245B
                 JiheeU
                  (Rev.
                                                                                                                                          ^
                                         United States District Court
                                                     SOUTHERN DISTRICT OFOHIO
                UNITED STATES OF AMERICA
                                                                                   JUDGMENT IN A CRIMINAL CASE
                                   v.


                       DALE ALAN TUCKER
                                                                                  Case Number: 1:14-CR-105-001
                                                                                  USM Number: 72611-061

                                                                                   Richard Smith-Monahan, Esq.
 THE DEFENDANT:                                                                   Defendant's Attorney                       —
 8fpleaded guilty to count(s)        One of the Indictment
 • pleaded nolo contendere to count(s)                                                                                               ~
    which was accepted by thecourt.                          "
 D was found guilty on count(s)
    after a plea of not guilty.                                              —                                                 .

 The defendant is adjudicated guilty ofthese offenses:
Title &Section                    Nature ofOffend                                                           __      _ j _,
                                                                                                           Offense Ended               Count
 21 U.S.C. §846 and               Conspiracy to Distribute aMeasurable Amount of                                                       0ne
 21 U.S.C. §§ 841(a)(1)           Methamphetamine
 &(b)(1)(C)

       The defendant issentenced asprovided innaees 2 throuoh                6         ne ,u:« • A
the Sentencing Reform Act of 1984.                         8                           of this judgment.. -«.
                                                                                                          The sentence is imposed pursuant to
DThe defendant has been found not guilty on count(s)
SlCount(s)      Two                                 c/:_         i-i    .. . .       ,                                             —
                      —                             W 1S         LJare dismissed on the motion of the United States.

°rn»iHn|a&
the defendant must notify the court and ffiffiSS Eey^flS^
                                                                                           disuict within30days ofanychangeofname,     residence,
                                                                                                                     Ifordlred to pay'restitutio^'
                                                                        6/8/2015
                                                                       Dale of Imposition ofJudgment



                                                                       Signatue^of Judgi




                                                                       Sandra S. Beckwith                            senior Judge
                                                                      Name andTitleof Judge


                                                                       6/8/2015
                                                                      Date
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